        Case 3:19-cv-00083-MO         Document 18        Filed 02/15/19     Page 1 of 2




John D. Giffin, CASB No. 89608, Pro Hac Vice
Valerie I. Holder, OSB No. 160646
KEESAL, YOUNG & LOGAN
450 Pacific Avenue
San Francisco, California 94133
Telephone:      (415) 398-6000
Facsimile:      (415) 981-0136
Email:      valerie.holder@kyl.com
            john.giffin@kyl.com
Attorneys for Plaintiff
Medmar Inc.


                           UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


MEDMAR INC.,                                        Case No. 3:19-cv-00083-MO
                                      Plaintiff,                                      ADMIRALTY
              vs.

ANGLO EASTERN NAVIGATION PTE                        PLAINTIFF’S NOTICE OF CONSENT
LTD.; 51,035.504 METRIC TONS OF U.S.                TO RELEASE CARGO FROM
NO. 2 OR BETTER SOFT WHITE WHEAT                    ATTACHMENT
IN BULK; ALSAEED TRADING
COMPANY; MIDSTAR FZE; VIGOROUS                      [FILED CONCURRENTLY WITH
SHIPPING & TRADING S.A,                             PLAINTIFF’S NOTICE OF
                                                    VOLUNTARY DISMISSAL WITHOUT
                                   Defendants.
                                                    PREJUDICE PURSUANT TO FRCP
                                                    41(A)]



       NOW COMES, through undersigned counsel, Plaintiff Medmar Inc. (“Plaintiff”) and

hereby gives Notice of Consent to Release Cargo from Attachment:

          1. WHEREAS on January 17, 2019, Plaintiff filed its Verified Complaint (ECF No.

              1), in which it prayed that all of Defendants Anglo Eastern’s and Midstar’s

              (collectively, “Defendants”) respective tangible or intangible property within this
              district, and the 51,035.504 metric tons of U.S. No. 2 or better soft white wheat in

              bulk loaded onto the vessel M/V/ VIGOROUS (the “Cargo”), owned or in control
Case No.: 3:19-cv-00083-MO                                                  KEESAL, YOUNG & LOGAN
PLAINTIFF’S NOTICE OF CONSENT TO RELEASE                                        450 PACIFIC AVENUE
CARGO FROM ATTACHMENT - 1                                                 SAN FRANCISCO, CALIFORNIA 94133
                                                                                  (415) 398-6000
      Case 3:19-cv-00083-MO         Document 18       Filed 02/15/19     Page 2 of 2




            of the said Defendants or in the hands or control of persons named as garnishes in

            the Process of Maritime Attachment and Garnishment be attached and seized

            pursuant to Supplemental Admiralty Rule B for Certain Admiralty and Maritime

            Claims;

        2. WHEREAS on January 23, 2019, the Court commanded the attachment of

            Defendants’ Cargo by its Process of Maritime Attachment and Garnishment (ECF

            No. 13);

        3. WHEREAS on this date, Plaintiff concurrently filed its Notice of Voluntary

            Dismissal of the above-entitled action without Prejudice pursuant to Fed. R. Civ.

            Proc. 41(a)(1)(A)(i);

        4. WHEREAS Plaintiff hereby gives notice to ITS MASTER of the M/V

            VIGOROUS, garnishee, to release the Cargo from attachment;

        5. WHEREAS the only party having appeared in the above-entitled action is

            Plaintiff, who consents to the release of the Cargo from attachment; and

        6. This Court has not entered any Order to the contrary preventing or otherwise

            restricting the foregoing release from attachment of the Cargo.



     Respectfully submitted:


     DATED this 15 day of February, 2019.

                                          KEESAL, YOUNG & LOGAN


                                          /s/ Valerie I. Holder
                                          John D. Giffin, CASB No. 89608, Pro Hac Vice
                                          Valerie I. Holder, OSB No. 160646
                                          Attorneys for Plaintiff
                                          Medmar Inc.




Case No.: 3:19-cv-00083-MO                                               KEESAL, YOUNG & LOGAN
PLAINTIFF’S NOTICE OF CONSENT TO RELEASE                                     450 PACIFIC AVENUE
CARGO FROM ATTACHMENT - 2                                              SAN FRANCISCO, CALIFORNIA 94133
                                                                               (415) 398-6000
